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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                           CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER


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                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
The City of Los Angeles, Los Angeles Fire &                                   CASE NUMBER:

Police Pension ex rel. Marcellus Taylor,                                                            2:15-cv-05343
                                                              Plaintiff(s),
                                     v.


Deutsche Bank, AG; DBAH Capital, LLC; DB                                                     CERTIFICATION AND NOTICE
                                                                                               OF INTERESTED PARTIES
Investment Managers, Inc.,
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                                   all Defendants
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                   CONNECTION / INTEREST

Deutsche Bank, AG                                                             Defendant
DBAH Capital, LLC                                                             Defendant
DB Investment Managers, Inc.                                                  Defendant




         July 15, 2015                                     /s/ Don A. Hernandez
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           all Defendants


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
